Case 2:03-cr-20459-.]PI\/| Document 147 Filed 08/31/05 Page 1 of 3 Page|D 209

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

FH.ED 331 m D 0

 

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uNITED sTArEs oF AMERJCA ) W,fa "F' t¥i'f'i»°~'“
) q \_,__.)'r!\ !|ii`)
P]aintiff, )
)
vs ) CAsE NO. 2:03CR20459-M1
)
RALPH WEDDLE )
)
Defendant' )
)

 

ORDER TO SURRENDER

 

The defendant, Ralph Weddle, having been sentenced in the above case to the custody of the

Bureau of Prisons and having been granted leave by the Court to report to the designated facility, IS

HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FPC MONTGOMERY,

Maxwell Air Force Base, Montgomery, AL 36112 by 2:00 p.m. on TUESDAY, SEPTEMBER 20,

2005.

IT IS FURTI-IER ORDERED that upon receipt of a copy of this Order the defendant shall sign

one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she Will

report as ordered to the facility named above.

ENTERED this the d day ofAuguSt, 2005

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N PHIPPS McCALLA
NITED STATES DISTRICT JUDGE

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Case 2:03-cr-20459-.]PI\/| Document 147 Filed 08/31/05 Page 2 of 3 Page|D 210

ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

 

DISTRICT COURT - WETERN D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 147 in
case 2:03-CR-20459 vvas distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

Randall W. Pierce
WAMPLER & PIERCE
P.O. Box 34 l 0

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David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

Honorable .l on l\/lcCalla
US DISTRICT COURT

